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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK
 In re Petition of                       )
                                         )
                                         )
 INVICTUS GLOBAL MANAGEMENT, ) MISC. No. 22-mc-130
 LLC,                                    )
                                         )
                                         )
 Petitioner, for an Order Pursuant to 28 )
 U.S.C. § 1782 to Conduct Discovery for )
 Use in a Foreign Proceeding.            )


    EX PARTE PETITION OF INVICTUS GLOBAL MANAGEMENT, LLC FOR AN
    ORDER TO CONDUCT DISCOVERY FOR USE IN A FOREIGN PROCEEDING
                       PURSUANT TO 28 U.S.C. § 1782

       1.      Petitioner Invictus Global Management, LLC (“Petitioner” or “Invictus”), pursuant

to 28 U.S.C. § 1782 (“Section 1782”), the Federal Rules of Civil Procedure, and the local rules of

this District, respectfully moves this Court for an ex parte order authorizing Petitioner to take

discovery, in the form attached hereto. In further support of its Petition, Invictus submits a

Memorandum of Law and attaches the Declaration of Mark Chudleigh, an attorney admitted to

practice in Bermuda, dated May 5, 2022 (the “Chudleigh Declaration”), and the Declaration of

Minyao Wang, an attorney admitted to practice before this Court, dated May 6, 2022 (the “Wang

Declaration”), plus the exhibits attached to the two Declarations.

       2.      Petitioner seeks the assistance of this Court to obtain discovery from (i) Apollo

Global Management, Inc. (“Apollo”), and (ii) Marc Rowan, a co-founder and the current Chief

Executive Officer of Apollo, (“Mr. Rowan” and together with Apollo, “Respondents”).

Petitioner’s specific discovery requests are set forth in the proposed subpoenas attached as Exhibits

A and B to the Wang Declaration. The requested discovery pertains to the fair value of the shares


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of Athene Holdings Ltd. (“Athene” or the “Company”) previously held by Petitioner. If this

Petition is granted, Invictus will use the requested discovery in connection with an appraisal

proceeding (the “Appraisal Proceeding”) currently pending in the Supreme Court of Bermuda (the

“Bermuda Supreme Court”). Petitioner is a party to the Appraisal Proceeding.

          3.      As further explained in the accompanying Memorandum of Law, Athene is an

insurance company incorporated in Bermuda. It was listed on the New York Stock Exchange from

2016 to January 2022. Apollo and Athene have had a long and complex relationship, as further

explained in the Memorandum of Law. Apollo was the subject of litigation alleging that it had

improperly extracted value from Athene. In a stock-for-stock transaction (the “Merger”)

orchestrated by Mr. Rowan, Athene was merged into Apollo in January 2022. Petitioner’s shares

in Athene were involuntarily extinguished in the Merger. As a result of the Merger, Apollo is the

majority owner of Athene.

          4.      In connection with the Merger, Athene holders received 1.149 shares of Apollo

common stock for each share of Athene stock (the “Conversion Ratio”). In Petitioner’s view, this

Conversion Ratio seriously undervalued its shares in the Company. Petitioner has dissented under

Bermuda law and is pursuing the Appraisal Proceeding to recover the full value of its Athene

shares.

          5.      Invictus’ proposed discovery is aimed at obtaining information directly relevant to

the critical issues in the Appraisal Proceeding, such as the fair value of Petitioner’s Athene shares,

the methods Apollo used to arrive at the Conversion Ratio, the timing of the Merger

announcement, the negotiation process between Respondents and the Company’s so-called special

committee, the conflict of interest concerns that have long tainted the Apollo-Athene relationship,

and the approval process for the Merger.



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       6.      Apollo is incorporated in Delaware and headquartered in New York City. Mr.

Rowan is an American citizen who lives in the United States. As set forth in the Chudleigh

Declaration, the discovery sought by Invictus herein cannot be, as a practical matter, obtained in

the Appraisal Proceeding because Apollo and Mr. Rowan are beyond the jurisdictional reach of

the Bermuda Supreme Court.

       7.      Section 1782 permits litigants in a foreign legal proceeding to invoke the power of

a federal district court to obtain discovery for use in that foreign proceeding. Section 1782(a) states:

       The district court of the district in which a person resides or is found may order him to give
       his testimony or statement or to produce a document or other thing for use in a proceeding
       in a foreign or international tribunal, including criminal investigations conducted before
       formal accusation. The order may be made . . . upon the application of any interested person
       and may direct that the testimony or statement be given, or the document or other thing be
       produced, before a person appointed by the court.

       8.      The statutory requirements of Section 1782 are satisfied here. As explained in the

accompanying submissions, (1) both Respondents are “found” in this District within the meaning

of Section 1782, (2) the discovery sought herein will be used in the Appraisal Proceeding, and (3)

Petitioner is an “interested person” in that proceeding.

       9.      This Petition also meets the discretionary factors relevant under Section 1782, as

explained further in the accompanying Memorandum of Law: (1) neither Respondent is a party to

the Appraisal Proceeding; (2) the Bermuda Supreme Court will be receptive to judicial assistance

from this Court pursuant to Section 1782; (3) Petitioner is not attempting to circumvent foreign

proof-gathering restrictions; and (4) the proposed discovery is not intrusive or burdensome. See

Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241 (2004).

       10.     Consistent with the prevailing practices of district courts in this Circuit for Section

1782 discovery, Petitioner submits that ex parte relief is warranted here. The typical practice in

this Circuit under Section 1782 is for the court to authorize issuance of a subpoena ex parte on the

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basis of a petitioner’s submissions. If the respondent believes that it should not be subject to

Section 1782, it can then file a motion with the court to quash the subpoena. See, e.g., In re Hellard,

2022 WL 656792 (S.D.N.Y. Mar. 4, 2022); In re the Application of PJSC National Bank Trust,

No. 21-mc-00867 (PKC) (S.D.N.Y. Jan. 5, 2022). This ex parte process would not prejudice

Respondents because Respondents would have the opportunity to move for relief prior to the

deadlines to comply with Petitioner’s subpoenas.

       11.      Petitioner therefore respectfully requests that this Court expeditiously grant the

Petition for an ex parte order authorizing Petitioner to serve Respondents with subpoenas

substantively in the form set forth as Exhibits A and B to the Wang Declaration.

       WHEREFORE, Petitioner respectfully requests that this Court enter an Order:

       a. Granting Invictus Petition for discovery under 28 U.S.C. § 1782;

       b. Authorizing Petitioner to take discovery from Respondents, by issuing the Subpoenas

             substantively in the form set forth as Exhibits A and B to the Wang Declaration; and

       c. Directing Respondents to comply with the Subpoenas issued in this proceeding in

             accordance with the Federal Rules of Civil Procedure and the Order of this Court.

Dated: May 6, 2022                                     REID COLLINS & TSAI LLP

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